                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION


  LUKE NGUYEN,
                            PLAINTIFF.                            COMPLAINT FOR DAMAGES
  V.
  UNIVERSITY OF ST.                                                  JURY TRIAL DEMANDED
  AUGUSTINE FOR HEALTH
  SCIENCES
                            DEFENDANT.



 PLAINTIFF’S COMPLAINT FOR VIOLATIONS OF TITLE III OF THE
   AMERICANS WITH DISABILITIES ACT, SECTION 504 OF THE
  REHABILITATION ACT, BREACH OF CONTRACT, NEGLIGENCE,
                      DEFAMATION




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        NOW COMES Plaintiff, LUKE NGUYEN, by and through his attorneys,

Lento Law Group and The Law Office of Keith Altman, and for his Complaint

against Defendants, hereby states the following:

                                           BACKGROUND
        1.       Defendants’ actions, set forth more fully herein, violate section 504 of

the Rehabilitation Act of 1973, 29 U.S.C. §791, et seq., and Title III of the

Americans with Disabilities Act (ADA, ADA-AA), 42 U.S.C. §12101, et seq.

                                                PARTIES



        2.       Luke Nguyen is a former student of the University of St. Augustine for

Health Sciences. Luke Nguyen is a citizen of Florida. Luke Nguyen has been

diagnosed with Generalized Anxiety Disorder (GAD) and ADHD, which

substantially interferes with his ability to learn in a traditional manner.

        3.       University of St. Augustine for Health Sciences (“USA”) is a private

graduate school with multiple campuses, including one located in St. Augustine,

Florida. Although a private institution, USA receives federal funds. As such, USA

is subject to Title III of the American with Disabilities Act and Section 504 of the

Rehabilitation Act.

                                   JURISDICTION & VENUE
        4.       This action arises under the laws of the United States, and therefore this

Court has jurisdiction pursuant to 28 U.S.C. §1331 (federal question).

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        5.       This action arises under the following federal statutes: The Americans

with Disabilities Act of 1990 (ADA), Pub.L. No. 101-336, 104 Stat. 327 (1990), 42

U.S.C. §§ 12101 et seq., amended by the Americans with Disabilities Amendments

Act (ADA-AA) with an effective date of January 1, 2009, which, at Title III of the

ADA, prohibits discrimination in the provision of public services. Section 202 of the

Act, 42 U.S.C. §12132 (Supp.1991), the Rehabilitation Act of 1973, §§504 and 505,

as amended, 29 U.S.C.A. §§794 and 794a, including the conforming amendment of

the ADA-AA which changes the definition of “disability” under §504 to conform to

the definition of “disability” under ADA-AA. Both the ADA and §504 prohibit

retaliation against persons with disabilities.

        6.       In accordance with 28 U.S.C. § 1367, this Court also has supplemental

over Plaintiff’s state law claims for negligence, breach of contract, and defamation

because these claims are related to the federal question claims listed above and the

state law claims are part of the same controversy as the federal claims.

        7.       This action is properly venued in the Jacksonville Division of the

Middle District of Florida because USA and the defendant is located within the

division and a significant portion of the events occurred within the division.




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                                         Factual Allegations
         8.      University of St. Augustine for Health Sciences (“USA”) is a private

graduate school with multiple campuses, including one located in St. Augustine,

Florida. USA offers numerous graduate level programs related to medicine.

         9.      USA offers a Flex Doctor of Physical Therapy Program (Flex DPT),

which is marketed as a program catering to students wishing to study Physical

Therapy while maintaining a schedule permissive of outside employment. At all

times relevant to this proceeding, Dr. Debra L. Gray was the Manager of the Flex

DPT program.

         10.     Luke Nguyen (Mr. Nguyen) began attending USA in the fall of 2016 as

a participant in the Flex DPT program.

         11.     Until the fall semester of 2018, Mr. Nguyen had never failed any class

or exam while enrolled in the Flex DPT program. Furthermore, at all times during

Mr. Nguyen’s enrollment, in the Flex DPT program, his cumulative GPA was above

a 3.0.

         12.     In the fall semester of 2018 Mr. Nguyen was enrolled in a class

Musculoskeletal II: Mock Clinic (Mock Clinic) taught by Dr. Margaret Wicinski.

This class featured a two-part final exam, consisting of a practical examination,

followed by a documentation exercise. The practical examination portion required

students to achieve an 80% competency level including a 100% competence in safety



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requirement in order to pass. The documentation portion required students to

achieve an 80% competency level in order to pass. Students were required to pass

both portions, or they would fail the class entirely.

        13.      The USA student handbooks states that students can be dismissed if

they fail any class. Therefore, failing any part of the Mock Clinic final, can

potentially lead to dismissal from the Flex-DPT program.

        14.      On or about November 30th, 2018, Mr. Nguyen suffered a mental

breakdown. This event required Mr. Nguyen to undergo psychiatric and primary

care physician evaluation. Mr. Nguyen has since been diagnosed with Generalized

Anxiety Disorder (GAD) and ADHD. Immediately after this breakdown, Mr.

Nguyen informed both Dr. Wicinski and Dr. Gray about his situation. Mr. Nguyen

provided Dr. Wicinski with documentation of his visit to his primary care physician

and psychiatrist.

        15.      On December 6th, 2018, Mr. Nguyen reached out to Dr. Wicinski again

via email to inform her that he had suffered another panic attack the night before.

This email further states that Mr. Nguyen’s psychiatrist recommended he “explore

the option of time and a half for examination in the future”. Dr. Wicinski never

responded to this email. However, the next day, December 7th 2018, Dr. Wicinski

informed Mr. Nguyen that he was scheduled to take both parts of his Mock Clinic

final exam on December 8th 2018.                      The recommendations of Mr. Nguyen’s



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psychiatrist were not followed, and no accommodations were put in place for this

exam.

        16.      The only correspondence Mr. Nguyen was able to have with any staff

member of the university regarding a disability accommodation request was a phone

call and email exchange with Ryan Davis, the coordinator for disability services for

USA. Mr. Davis was based out of Texas, and is the only person hired by USA handle

disability requests.

        17.      Mr. Davis provided phone instructions to Mr. Nguyen that were

extremely vague to Mr. Nguyen. On December 11th, 2018, Mr. Nguyen sent an

email to Mr. Davis stating that he had not been provided with student disability

documentation despite being assured by Mr. Davis that it would be emailed to him.

The email goes on to request clarification from Mr. Davis regarding instructions he

had given with regards to appealing Mr. Nguyen’s Midterm grade. In his response,

Mr. Davis provided Mr. Nguyen with a disability accommodation request form but

did not respond to any of Mr. Nguyen’s substantive inquiries.

        18.      Mr. Nguyen was not able to pass his Mock Clinic final exam because

of onset of his GA and ADHD disability. This resulted in his failing the entire Mock

Clinic course. On December 21st, 2018, Mr. Nguyen received an email from USA,

stating that Mr. Nguyen had been dismissed from the Flex DPT program on basis of

his failing the Mock Clinic course.



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        19.      According to the USA student handbook, students are entitled to a re-

take of a failed practical examination.                  Students are required to contact their

professor within one to two business days of failing their practical examination.

Despite following this procedure after failing his Mock Clinic final exam, Mr.

Nguyen was never offered the opportunity to retake his exam.

        20.      After attempting to appeal his dismissal, Mr. Nguyen received a notice

from USA informing him that his appeal had been denied. The notice states that Mr.

Nguyen’s appeal had been denied “based on concerns regarding [Mr. Nguyen’s]

academic performance, professional behaviors, and academic integrity. USA placed

these allegations into Mr. Nguyen’s student portfolio which makes them freely

accessible by any educational institution that Mr. Nguyen may wish to apply to in

the future.

                                    FIRST CAUSE OF ACTION
                                      Violation Title III ADA



        21.      Plaintiff incorporates the preceding Background (¶¶ 1), Parties (¶¶ 2-

3), Jurisdiction and Venue (¶¶ 4-7), and Factual Allegations (¶¶ 8-20) sections as if

fully set forth herein.

        22.      Plaintiff suffers from a disability as a result of being diagnosed with

ADHD and GAD.




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        23.      Plaintiff has a serious medical need, ADHD & GAD, and is a "qualified

individual with a disability" as defined in 42 U.S.C. §12131(2).

        24.      The ADA and its implementing regulations require that alternative

services and modifications be made to qualified individuals with a disability.

        25.      At all times after November 30th, 2018, Defendant was fully aware of

Plaintiff’s disability.

        26.      Plaintiff was not provided reasonable accommodations for his

documented disability.

        27.      As a result of Defendants’ failure to implement reasonable

accommodations to Plaintiff, Defendants violated the ADA by discriminating

against Plaintiff in several ways, including without limitation, the following:

                             a) Failing to recognize that Plaintiff had a disability due to

                                  ADHD and GAD.

                             b) Failing to enable Plaintiff to file a reasonable

                                  accommodation request in a timely manner.

                             c) Failing to provide a disability accommodation coordinator

                                  for the St. Augustine campus of USA.

                             d) Failing to provide Plaintiff with accommodations after

                                  learning of Plaintiff’s disability.




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                             e) Denying Plaintiff the equal/same opportunity to receive

                                  an education as those without a disability.

        28.      Defendants have discriminated against Plaintiff by failing to provide a

full and equal opportunity to enjoy the services Defendants provide, as per 42 U.S.C.

§§ 12182, 12183(a)(1).

        29.      Defendants’ inobservance of the law is ongoing and continuous,

requiring declaratory and injunctive relief appropriate employing 42 U.S.C. § 12182,

as well as Fed. R. Civ. P. 57, and 28 U.S.C. § 2201.

        30.      As a direct and proximate result of Defendants’ unlawful

discrimination and refusal to provide reasonable accommodations, Plaintiff has

sustained and continues to sustain injuries and damages.

                               SECOND CAUSE OF ACTION
                        Violation section 504 of the Rehabilitation Act


        31.      Plaintiff incorporates the preceding Background (¶¶ 1), Parties (¶¶ 2-

3), Jurisdiction and Venue (¶¶ 4-7), and Factual Allegations (¶¶ 8-20) sections as if

fully set forth herein.

        32.      Section 504 of the Rehabilitation Act, 29 U.S.C § 794, bars all federally

funded entities (governmental or otherwise) from discriminating based on disability.

Section 504 states, in relevant part:




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                                No otherwise qualified individual with a
                         disability in the United States ... shall, solely by
                         reason of his or her disability, be excluded from
                         the participation in, be denied the benefits of, or
                         be subjected to discrimination under any program
                         or activity receiving Federal financial assistance
                         or under any program or activity conducted by
                         any Executive agency or by the United States
                         Postal Service.

                         29 U.S.C. § 794(a).

        33.      Defendant USA receives federal financial assistance and is covered by

Section 504.

        34.      Plaintiff has two disabilities, ADHD and GAD, which interfere with his

ability to learn. Learning is a major life activity. Thus, ADHD and GAD limit at

least one of Plaintiff’s major life activities.

        35.      Because ADHD and GAD substantially limits at least one of Plaintiff’s

major life activities Plaintiff is an individual with a disability under the

Rehabilitation Act.

        36.      Plaintiff had a demonstrated history of success as a student until the

resurgence of his ADHD and GAD in the fall of 2018.

        37.      The Rehabilitation Act and its implementing regulations require

that Defendants administer programs/activities in the most integrated setting

appropriate to the needs of qualified handicapped/disabled persons. 28 C.F.R. §

41.51 and 45 C.F.R § 84.4.


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        38.      Plaintiff has been denied and excluded from the benefits of Defendants’

educational program because Defendants have failed to make reasonable

accommodations that meet Plaintiff’s needs.

        39.      As a result of Defendants’ exclusion of Plaintiff from receiving

reasonable accommodations commensurate with his ADHD and GAD, Defendants

violated the Rehabilitation Act by discriminating against Plaintiff in several ways,

including without limitation, the following:

                             a) Failing to recognize that Plaintiff had a disability

                                  due to ADHD and GAD.

                             b) Failing to provide a disability accommodation coordinator

                                  for the St. Augustine campus of USA.

                             c) Failing to enable Plaintiff to file a reasonable

                                  accommodation request in a timely manner.

                             d) Failing to provide Plaintiff with accommodations

                                  after learning of Plaintiff’s disability.

                             e) Denying Plaintiff the equal/same opportunity to

                                  receive an education as a medical student as those

                                  without a disability.




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        40.      As a direct and proximate result of Defendants’ unlawful

discrimination, Plaintiff has sustained and will continue to sustain injuries and

damages.

                                    THIRD CAUSE OF ACTION
                                        Breach of contract


        41.      Plaintiff incorporates the preceding Background (¶¶ 1), Parties (¶¶ 2-

3), Jurisdiction and Venue (¶¶ 4-7), and Factual Allegations (¶¶ 8-20) sections as if

fully set forth herein.

        42.      Plaintiff and Defendant USA entered into a contract by which

Defendant offered admission to USA to Plaintiff and for which Plaintiff accepted

USA’s offer and attended USA.

        43.      There was a mutual exchange of consideration by which Plaintiff

attended the university involving payments and expenditure of time and USA made

its services available to Plaintiff including educational opportunities.

        44.      As part of the contract was the existence of policies set forth USA. As

a condition of attending USA, Plaintiff and USA were both expected to be bound by

those policies. Included within those policies were policies concerning disability

services. These policies were part of the bargain between Plaintiff and USA.

Without agreeing to abide by those policies, Plaintiff would not have been permitted

to attend USA.



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        45.      Defendant USA breached the contract as discussed more fully within

this complaint by not properly providing Plaintiff with services related to his

disability.

        46.      Defendant USA committed a further breach of contract by failing to

allow Plaintiff to retake his final exam despite being entitled to a retake.

        47.      As a result of Defendant USA’s breach of the contract, Plaintiff has

been damaged in that he has been forced to expend significant time and resources

appealing his dismissal from USA despite not having been provided the services for

his disability that USA was required to provide under federal law and the contracted

for policies of USA. Plaintiff’s Plaintiff is further saddled with substantial debt to

USA through student loans.

        48.      Furthermore, Plaintiff’s ability to attend a different school has been

impaired by USA’s breach of contract.



                                FOURTH CAUSE OF ACTION
                                       Negligence

        49.      Plaintiff incorporates the preceding Background (¶¶ 1), Parties (¶¶ 2-

3), Jurisdiction and Venue (¶¶ 4-7), and Factual Allegations (¶¶ 8-20) sections as if

fully set forth herein.

        50.      Defendants breached their duty of reasonable care by negligently acting

or omitting to act in such a way that resulted in Plaintiff’s wrongful dismissal from


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USA, which these Defendants knew or should have known posed a substantial risk

of harm to Plaintiff.

        51.      Defendants were negligent in performing their duties and failed,

neglected and/or refused to properly and fully discharge their responsibilities by,

among other things:

                             a) Failing to recognize Plaintiff’s need for accommodations

                                  for his learning disability.

                             b) Failing to properly review Plaintiff’s needs for

                                  accommodations for his learning disability.

                             c) Failing to provide a disability accommodation coordinator

                                  for the St. Augustine campus of USA.

                             d) Failing to provide Plaintiff with proper accommodations

                                  for his learning disability.

                             e) Creating and/or sanctioning policies, patterns, practices,

                                  and customs of not properly providing reasonable

                                  accommodations to those with learning disabilities.

                             f) Failing to adequately train and supervise USA personnel

                                  to     properly       evaluate        and        provide   reasonable

                                  accommodations to those with learning disabilities.




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        52.      By their negligent conduct, the Defendants have inflicted extreme and

severe emotional distress on Plaintiff, who is confronted with an inability to

complete his education, practice his chosen profession, earn a living, provide for his

family, and to pay his mounting student loan debts. He has therefore suffered direct

financial losses due to Defendants’ aforementioned conduct.

        53.      As a result of Defendants’ conduct, Plaintiff has suffered a worsening

of his GAD symptoms which has affected his mental and physical wellbeing as well

as his interpersonal relationships. Plaintiff sees a therapist and is being treated for

these symptoms. He is required to pay for these services.

        54.      The growing emotional, psychological, and physical distress that the

Plaintiff has suffered was caused directly and proximately by the Defendants’

negligent conduct. Furthermore, Plaintiff suffers and continues to suffer financial

losses due to Defendants’ negligent conduct.

                                FIFTH CAUSE OF ACTION
                                       Defamation


        55.      Plaintiff incorporates the preceding Background (¶¶ 1), Parties (¶¶ 2-

3), Jurisdiction and Venue (¶¶ 4-7), and Factual Allegations (¶¶ 8-20) sections as if

fully set forth herein.

        56.      In their January 14th, 2019 letter to Plaintiff, Defendant falsely stated

that Plaintiff had violated USA policies regarding “professional behaviors and



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academic integrity”. Defendant has offered no evidence for these contentions, nor

were these concerns ever raised by Defendant before this letter.

        57.      These allegations have been incorporated by Defendant into Plaintiff’s

student portfolio. The contents of Plaintiff’s student portfolio are accessible by other

educational programs.

        58.      Plaintiff was dismissed from an online finance program through

Harvard University based on the allegations in Plaintiff’s student portfolio. Plaintiff

continues to face difficulty in obtaining further educational opportunities because of

the false allegations made by Defendant in Plaintiff’s student portfolio

        59.      The inability of Plaintiff to pursue further education has damaged

Plaintiff’s ability to earn a living and has contributed significantly to his worsening

GAD symptoms.

                                        PRAYER FOR RELIEF
WHEREFORE, Plaintiffs request that this Court grant them relief as follows:

    (1) Compensatory damages for financial loss, damage to reputation,

        humiliation, mental anguish, and emotional distress;

    (2) Punitive damages against the defendant;

    (3) Attorneys’ fees;

    (4) Costs of the suit;

    (5) Injunctive relief; and



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    (6) Such other relief as the Court may deem proper.

                                     JURY TRIAL DEMANDED

        Plaintiff hereby demands a trial by jury on all issues stated in this action.

                                                   Respectfully Submitted,




                                          __________________________________
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